         Case 2:08-cr-20045-RTD                     Document 35        Filed 04/01/09                 Page 1 of 6 PageID #: 76
EAO 2458    (Itcv.06/05)Jud8mcnt
                              in F CrirnirlalCsse
            shcctI



                                       UnrrenSrRtesDrstRIcrCounr
                    WESTEITN                                 Districtof                                  ARKANSAS
        UNITEDSTATESOFAMERICA                                       JUDGMENT IN A CRIMINAL CASE
                 Y.

           JACKIEIJIjAN JONES,JR.
                                                                    CaseNumber:                         2:08CR?0045-001
                                                                    USM Nuntber:                        08477-010
                                                                    Kenneth A. Hadces
                                                                    DeltndEnt's Athrmcy
THE DI]FENDANT:
X pleadedguilty to count(s)       Twg (2) ofth$ Indictmepton October21,2008

0 pleadednolo contcnder€to count(s)
  which was acceptedby the court.
I was found guilty on count(s)
  aftera pleoofnot guilty.

Thedefendant           guiltyoftheseoffenses:
          is ndjudicated

Titlc & Sortion                Nature of offrngi:                                                       OIIense Edded      @!

? | U.S.C.$ 841(aXl) and               with Intentto DistributeMorcThan5 Cramsof Actu8l
                               Possession                                                                 02/05/?008          2
(b)(l)(B);l8 tJ.s.C.$ 2        Methamphetamine;AidingandAbetting



      Thedefendant            asprovidcdin pages2 through
                    is sentenced                               6      ofthisjudgment.Thesentence        withinthe
                                                                                               is imposed
statetoryrflngcandtheU,S,Sentencing
                                  Cuidelineswercconsideredasadvisory.

F The defendanthasbccn found not guilty on count(s)

X Coun(s)                     O n e( l )              X is   !   are dismissedon the motion ofthe United States.

        It is ordered rhatthedefendant                          attomeyfor thisdisftictwithin30daysofq4ychangcofnamc,residcnoe,
                                        mustnotifytheUnitcdStates
or mailingaddress  until4llfines,restitution,.costs,
                                                andspecialassessmcnts.im'posed
                                                                            by thiEjudgment  arefully paid.Iforderedto payrestitution,
thedetendflnt  ffusl nohlythecourtandunttedStatesBttorney  or m8rertal
                                                                    cnttngcs rn economlc  ctrcum$ances,


                                                                    Date rtf lmporition of Jud8mEnt



                                                                    /S/ RobettT. Dawson
                                                                    Signnturc
                                                                           ofJudgo




                                                                    Honol"ble RobertT. Dttwson. Uflitcd StatesDistict Judsc       -
                                                                    Ni neandTitleofJudg€
            Case 2:08-cr-20045-RTD                     Document 35        Filed 04/01/09         Page 2 of 6 PageID #: 77
Ao 2451t    (Rev.06/05)JudElncnt
                               in CrimintlL-'d$e
            :ihcEt? - Imprisonment
                                                                                                   Judsmcnl 'fa8e 4        of
DEFENDANT:                   JACKIE DEAN JONES,JR.
CASENUMRER:                  2:08CR2(X)45-001



                                                            IMPRISONMENT
       Thc defrndantis herebycommittedto the custodyofthe United StatesBureauofPrisons to be imprisonedlor a
totaltenn of     thirty (30) months




  X    The murt makesthe following rcctmmendationsto the BureauofPrisons:
       Evaluation for placcmcnt in the 500 hour tlrug treatmcnt proBram.




  tr                           to thc dustodyofthe United StatesMarshal-
       The defendmt is rcmande.d

  tr   The defendantshall surlendertd the United StfltesMarshalfor this district:

       trot                                        F    a.m.   F   p-m.    {Jn

       n      asnotifiedby theUnitedstrrtcsMarsh8l.

  X              shallsurrendcr
       Thedefendant           for serviceof sentence                          by theBurctuofPrisons:
                                                   at thc institutiondesignated
       ){     bcforeI p.m,on         luesday,May26,2009
       tr     asnotifiedby theUnitedStatesMr shal.

       I      asnotifiedby the Probationor PretrialServicesOffice.


                                                                   RETURN
 I heveexecutedthis judgmentas follows:




       Defendantdeliveredon

                                                        with e c€rtifiedcopyofthisjudgment.



                                                                                                       SI AI FJ$MARSIIAL
                                                                                                 TJNITED


                                                                          By
                                                                                              DEFU'TYUNITEDSTATESMARSHAI,
              Case 2:08-cr-20045-RTD                 Document 35            Filed 04/01/09           Page 3 of 6 PageID #: 78
AO 2458        EEv. 06IJs) JudSnHnt
                                 in a CriminalCd$€



DIIFENDANT.:                 JACKIH,DEAN JONES.JR.
CAtiIiNUMBERi                ?:08CR20045-001
                                                       SUPERVISED
                                                                RELEASE
IJpon relensel'ronrimprisonrncnt,the defendantshall be on supervisedrelcasefor a term of:             four (4) yerrs




    Thc deferdontffust_reporlto thc probationoffioe ir the district to which thc defendantis rcleasedwithin 72 hoursof relcasefronr the
custodyofthe BurcauofPrisons.
I'he defcndantshall ndt commit flflotherfederal,statesp local crime,
The defendantshall not unlawfully po$scssa controllcdsubstance.The d€felrdantshall refrain l'rom any unlawful useofs controlled
substance.lhq dcltndant shall submitto oflc drug t€st within l5 daysofreleasefron imp sonrtren(sna at kast two pcriodic dntg tests
theresl-lcr,ar detennintdby th€ court.
El        The sbovedru8 testingcondition is suspended,bffscdon the court's determinationthat the defcndantposes{ low rink of
          futuresubstanctahuse. (Check,if eppticsblc.)
X         Tlte deftndantshall not possessa fircarm, ammunition,destnlctivcdevice,orany other dangerousweapon. (Chcck,ifapplicablo,)

X         Th€ defefldantshall cooptratein the cotlcctionof DNA asdirectedby the probstionofficer. (Chrck, if apFlicrrblE.)

E         The defendantshall registff with the statcsex offenderrcgistrationagcncyin the statewhere the defcndantresides,works, or is a
          student,d.rdirectedby the probationofficer. (Check,ifapplicable.)
E         The defendtntshallparricipatein an approvedprogramfor domcsticviolence. (Check,ifapplicable.)

_ , lfthisjudgflent inlposes-a.finc or restitution,it is a cofiditionofsuperviscdreleasethst the defetrdsntpay in accordancewith the
SCneoule or raynlenlssntct or filtsJudBment,

     . The defendantmust comply with the standardconditionsthat havebeebadopt€dby this court aswell as with any additionalconditjons
ol) thc attaclledbAse.

                                       STANDAR-D CONDITIONS OF SUPERVISION
     I)    thc defendantshall not leavethcj udicial district without the pemrissionof thc court or probationofficer;
    2)     thcdefendantshallrepod to the probationofliccr and shsll submit a truthful dnd cornpletewritten repoft within thc tirst five daysof
           eacnmonth:
    3)     the defendantshall flhswfi truthfully all inquiries by thc pwrbationofliccr and follow the inrtructionssllthc probationoffimt;
    4)     the defendantshall supporthis or her dcpendentsand mcetother family responsibilities;
    5)     the defcndantshall work regulerly at a lawful occupntion,unlessexousedby the prdbationoflicer for schooling,training or other
           acceplaDleftasons;
    6)     thc defendantshallnotifl the probationoflicer at lca.itten daysprior to any changcin residenceor rmployment;
    7)                  shall rcfrain froIn exccssiveuseofafcohol and shallnot nurchnse.possess,use. distribute.or administerrrnv
           the dcf'endant
           controlledsubstance  or any paraphemaliarelatedto any controlledsub-stances,
                                                                                      eiccpt as preiffibed by a physician;
    8)     the defendsntshdl not frequentplaceswherc controlledsubstrncesare illegally sold, used,distributed,or sdministcredi
    9)     t-hcdeftndnntshallnot associatewith any pe$ons engagedin_c_riminal
                                                                            activity and shall not associatewith sny pcrJonconvictedofa
           felony, unlessgrantcdpermissionto do {o'by the proEafionoflicer;
 l0)       the defcndantshsll perfiit aprcbatioh oflicer to visit hirn orher fliafly time at homeorclsewhereand shall permit confiscationofany
           contmbmdobserveilin plain view ofrhe rrrobatiorrofficer:
 I l)      the defcndantshall notify the probfltionollicer within scventy-twohoursofbeing anestddor qu€stionertby a taw enforcementoflicer;
 12)       thc deferdantshall not enter itrto any agreetnentio act ffi &n iflforrneror fl sprci€,Iagentof fi law cnlbrqenrentffgr oy without tbe
           Dermissionof the courti and
 l3)       asdirectedbv the pmbationofficer, the defenrtantshall notify third naniesofrisks that nraybc occasionedbv lhc det-endant's
                                                                                                                                    uiminal
           record or oeisonalhistorv or characteristicsand rhall Derflit the Drobationofliccr to riake such notificitions and to confim the
           defendant'scompliancc\iith such rtotificationrecrrircmi:nt.
          Case 2:08-cr-20045-RTD               Document 35           Filed 04/01/09         Page 4 of 6 PageID #: 79
AO r45B    (Rev.06/05)     in u CriminslCEs.
                    JudEm€nt
           $hcct3C- SuDarvisod
                            Relense
                                                                                                JLd8nrcnt-Ps8c -4-     of
DEFENDANT:             JACKIEDEANJONES,JR.
CASENUMBER:            2:08CR20045-001

                                   SPECIAL CONDITIONS                 OI' SU PERVISION


      l.       Thc defendantshallsubmithis nerson.rcsidcn{.ic.  pluccofcmrJloyment,andvehicleto a se0rchconducte,lby the Unitcd Statcs
               FrobationOfiiri at $ re*sonsEt[iimc irndin a reidonablemarineib*seduDorrreasoneblcsuspicionofcvidcncc ofviolation of
               afiv condirionof lupcrviscxlrelcase-The delendantshallwam tmy othcl rccidL'nts thatthcir prcmisesmay be subjectto search
               puisuflntto this coniCition.Failureto submilto $ se$rchrnflybc groundsfor revocEtion,

               Ifl arlditionro thc mandatorydruatestin,lrequirements,rhc dcll'nd nt shallcomply with any referraldeemedalproprioleby the
                                                                                                                      abuse.
                                                   or out.fatientevaluation,trcatment,counselingor tcstingfor substancc
               Lj,S,FrobationOtlic€r l'or in-pah-rcnt
           Case 2:08-cr-20045-RTD                                Document 35                 Filed 04/01/09          Page 5 of 6 PageID #: 80
Ao 2458       (R'iv 06rc5)Judgh€ntrnrCrtminal(:aso
              shcct 5 -       Crirninnl Momtllry Pcnaltica
                                                                                                                     JudB'rDni- PeEc jE_
DEFENDANT;                                 JACKIE DEAN JONES,JR.
CASENUMBER:                                2:08CIU0045'001
                                                        CRIMIN AL MONETARY PE$IALTIES
      llre defendantmust pay the total criminal monetarypenaltiesunderthc soheduleofpayments on Shddt6.

                               Assessment                                              FIne                                Restitution
TOTALS                    $    t00.00                                                $ I,500.00                          $ -0-


 E    The dotcrminationofrestitution is dcibned until                                An AmenrledJudgneht in a (riminal Case(AO ?45C) will bc entered
      after such detsrrtrination,

 H    The defendantmust makerestitution(including communityr€stitutiofl)td thc fbllowing payeesin fte smountlistedbelow.

      lf the dcfcndanjmakesa partisl pflymcnt,eaphpayeeshallreccivean approximatelyproportioncdpayment,qnlessspecifiedotherwiscin
      the u1o1ly oroer{)r percenpgepayment
                                        -    colunin below. However, puiiuant to I 8U.S.C. $ 3664(i), all nonfederalVictitltsmust be paid
      beftirethdUnited Stites is paid.'

 Namc of Pavee                                          IslsllsEr:                             Restitution 0rdcrcd                   Priority or PercentdEe




 TOTALS


 tr                                 to pleaagreement$
                 amountorderedpursuant
       Restitution

 tr    The defendantmust psy intcrcston restitutionBndA fiflc dfmore than $?,500,unlessthe restitutionor line is paid in full beforethe
       fiftcenthdayafterthe dateofrhcjudgrnent,pursuanr  ro l8 U.S.C.$ 361?(f). AII ofthe paymentoptionson Sheet6maybe subject
       to pennlticslbr delinquencyand deftult, pumuantto 18 U.S.C.$ 36 | 2(g).

       'lhs
 X            court dcterminedthat the defendantdocsnot havethe abiliry o pay intcrestand it is orderedlhttt:

       X      the interestrequiremcntis waived forthe                    fi       fine   E   restitution.

       n      the inter€st[€quirementfor lhe                 E    fine        [     rcstitutionis modified as follows:



 + Findine.s                                                                                              committcd
                                                            109A,110,I l0A, andI )3A of Title 18foroffenses
                              of]ossessrerequiredunderChaDters
          for thetotfflarrrrlunl                                                                                  onor aft€r
           13,1994,btrtbcforcApril ?3, 1995.
 Septenrb-er
          Case 2:08-cr-20045-RTD                          Document 35        Filed 04/01/09        Page 6 of 6 PageID #: 81
AO 2458    (ftcv. 06/05)Judgrncntin sCrininal Clsc
           Shcct6- Schcdulcof Paymcnts

                                                                                                       Jud8henl- FaSe _S_       0f
DEFENDANT:                  JACKIE IJEAN JONI,.]$,
                                                JR.
CASENUMBER:                 2:08CR?0045-001

                                                          SCHEDULEOF PAYMENTS

              the defendant'sabiliry to pay, psymentoltht total criminal mon€tarypenaltiesare due as follows:
Having assessed

A     X    Lump sunrpaymentof$                                  due immediately,balanoedue

            H      not laterthan                                    'of
            X      in accordance         tr   C,     tr    D,   !    lJ,or   X F below;or
 B t r Paymentto begin immEdiately(may be combinedwith n C,          n D, or     I F bclow); or

 C t r Pflyfieflt in equdl            (e.g.,weekly, monthly,quartedy)installrdcntsdf $                                   ovcr a pcriod of
                           (e.9.,monthsor years),to commence                    (e,g.,30 or 60 drys) aflcr thc datc ofthisjudgmcnt; or

 D    E    Paymentin equal .-.,--             (t,8., \rcchl], monthly, quarterly)installmentsof $                    overa periodof
                        (e.g.,ftodths 6r ycars),to conrm€rce _              (e.g.,30 or 60 days) affer releasefrom imprisonmentto a
           tcrm of supcrvision;or

      tr Paymentduringthe tsnn of supewisedreleasewill commencewithin -                  (e.9.,30 ot 60 days)after releasefrom
                                                                                ofthe defendant'sability to pay at thai timeior
            imprisonmerrt.The coun will set the paynlentplsn basedon sn assessment

      X     Specialinstructionsregardingthe paymentofdtiflrinrrl hdnctary pcnalties:
            II not oaidimmcdiatclv.anv unoaidfinancialoeraltv imnosedshallbe oeid durinl the ueriodof incsrcerdionst s rsteof not less
            thsn$15.00ouarterlv.'orl0% dfthe defendani'squirncrlycamines.wliichcvcris-grcatbr-Allcr incitrccration,any unpaidlinalc'ial
            ocnaltvshallbccomi ir soccialconditionof sunervisedreleaseanil mav be naid in monthlyinstallmentsofnot lesSthail l0% ol the
            ilefendant'snetmonthlyholsehold incrrme,.britin nd caselcssthan$75.00pcr month,with thc cntircbalanccto bc ptid in lull onc
            modlhDrlol to the tcrmlnatldnol nuDcrvlsc:d
                                                      rclca.Ee-



 Unlessthecourthasexpressly    otherwise,
                         ordered                    imposes
                                       ifthis.judgment    imprisonnent,                      penalties
                                                                     paymeltofcriqinalmo -e14ry      isduedurinq
 imdrist|nflCni.   All criminal monetary penaltles, except those paym€nts Inade through the Federal bureau Ot l'rlsons' lnmate rlnanclal
                     aremndeto the'clerkofihe coirt.
              Prograrn,
 Reiponsibility

           shsllreceivecrcditfor all pnyments
 Thedefend$nt                               previously                           penalties
                                                     madetowardanycriminalmonetary       imposed.




 E    Joint and Sweral

      Defendsnt0nd Co-DefefldflntNafiresand CflseNuffberu (including defendmt numbcr),Total Amount, Jdiflt snd Sever{ Amount,
      and correspondingpayee,if appropnate,




 E              shallpaythecostofprosecution.
      Thedefendant

 E              shdl paythefo)lowin8,
      Thedefendant                  coudcost(s):

 fl                                        idterestin thc lbllowingpropcrtyto thc Unitodstatcs:
       Thedefendmtshallforfeitthedefendsflt's




 Pavments  shallbeaDDlied  ifl thefollowingorder:(l ) &r$r:ssmcnt,
                                                                (?) restitution                               (4) fineprincipal,
                                                                              principal,(3) restitutioninterest,
 (5t fineinterest,
                 (6) c'oftrflunity
                                 rcstitution-,           and(E)costs,includingcostofprosecution
                                            (7) pcnalties,                                         andcouftcosts.
